Case 6:11-cv-01749-RRS-CBW Document 123 Filed 05/29/19 Page 1 of 2 PagelID #: 3345

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA
LAFAYETTE DIVISION

CASE NO. 6:11-CV-01749 SEC P
ALBERT K ALEXANDER

VERSUS JUDGE ROBERT SUMMERHAYS
CITY POLICE OF LAFAYETTE MAGISTRATE JUDGE WHITEHURST
ET AL

PARTIAL JUDGMENT

For the reasons stated in the Report and Recommendation of the Magistrate
Judge previously filed herein, and after an independent review of the record,
determining that the findings are correct under the applicable law, and considering
the objections to the Report and Recommendation in the record;

IT IS ORDERED, ADJUDGED AND DECREED THAT claims against
Darla Montgomery, Mike Barah, Home Depot, Fred’s Discount Store, Clayton
Mobile Homes, Van Allen Homes, Kanisha Youngblood, Brooke Frey, Pamela
Denman, Sharon Sergi, Leon Vedrienn, Carol Mitchell, Travis Knight, Terry Penner,
Jason Domingue, Chrissy Meche, Lowes Loss Prevention Team, John Does, Home
Depot Loss Prevention Office, Sandy Mixon, Young Broadcasting, Sam’s
Wholesale Club, Haskin Smith, Coburns of Lafayette South, Lowes Home

Improvement, District Attorney Office Lafayette, City Police of Lafayette, A-Z

Insurance Co., Officer John Does, Wal-Mart Store #2938 (Lafayette) and Wal-Mart

 

 

 
Case 6:11-cv-01749-RRS-CBW Document 123 Filed 05/29/19 Page 2 of 2 PagelID #: 3346

Store #543 (Opelousas) are DISMISSED WITH PREJUDICE as frivolous and for
failing to state a claim for which relief may be granted.

IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT
claims against Michael Harson and Adam Haney should be DISMISSED WITH
PREJUDICE as they seek monetary relief against defendants who are immune
from such relief.

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THUS DONE in Chambers on this “2 day of Q ,

2019.

 

Robert R. Summethays
United States DistrictJurdge

 

 
